Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 1 of 9




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 18-CR-20685-WILLIAMS

    UNITED STATES OF AMERICA

    v.

    ABRAHAM EDGARDO ORTEGA,

                                  Defendant.


                            PRELIMINARY ORDER OF FORFEITURE

           THIS CAUSE is before the Court upon unopposed motion of the United States of America

    (the "United States") for entry of a Preliminary Order of Forfeiture imposing a forfeiture money

    judgment in the amount of $12 million and the forfeiture of certain assets in partial satisfaction

    thereof, pursuant to 18 U.S.C. § 982(a)(l) and Rule 32.2(b)(2) of the Federal Rules of ~riminal

    Procedure.   Being fully advised in the premises and based on the United States' Unopposed

    Motion for Preliminary Order of Forfeiture, and Memorandum of Law in Support Thereof, the

    accompanying Declaration of Special Agent Alan G. Vega of Homeland Security Investigations

    ("HSI"), the record in this matter, and for good cause shown thereby, the Court finds as follows:

            I.     On August 16, 2018, a federal grand jury in the Southern District of Florida

    returned an Indictment charging the Defendant and others with conspiracy to commit money

    laundering in violation of 18 U.S.C. § 1956(h), substantive counts of money laundering in

    violation of 18 U.S.C. § 1956, and substantive counts of interstate and foreign travel in aid of

    racketeering in violation of 18 U.S.C. § 1952. Indictment, ECF No. 19. The Indictment also

    contained forfeiture allegations, which alleged that upon conviction of a violation of 18 U.S.C.

    § 1956, as alleged in the Indictment, the Defendant shall forfeit to the United States any property,
Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 2 of 9




    real or personal, involved in such offense, and any property traceable to such property, pursuant

    to 18 U .S.C. § 982( a)( 1). Id. at 5. The Indictment also alleged that upon conviction ofa violation

    of 18 U.S.C. § 1952, as alleged in the Indictment, the Defendant shall forfeit to the United States

    any property, real or personal, which constitutes or is derived from proceeds traceable to such

    offense, pursuant to 18 U.S.C. § 98l(a)(l)(C) and 28 U.S.C. § 246l(c).              Id at 5w6.    The

    Indictment alleged that certain specific property was subject to forfeiture.   Id. at 6w8,

           2.      On October 24, 2018, a onewcount Superseding Information was filed, charging the

    Defendant with conspiracy to commit money laundering in violation of 18 U.S.C. § 1956(h).

    Superseding Information, ECF No. 53.

           3.      On October 26, 2018, the Court issued the Amended Protective Order for Assets

    Subject to Forfeiture ("Amended Protective Order"), which amended the Protective Order for

    Assets Subject to Forfeiture that was entered on August 22, 2018. See Protective Order, ECF No.

    32; Am. Protective Order, ECF No. 60. The Amended Protective Order enjoined and restrained

    the following property, among other assets, alleged to be subject to forfeiture pursuant to 18 U.S.C.

    §§ 981(a)(l)(C) and 982(a)(l), in order to preserve their availability for criminal forfeiture:

                   c.      All assets on deposit in account number 1466054 at City National Bank held

           by Global Securities Trade Finance;

                   d.      All assets on deposit in account/portfolio number 1303311 WOO at Deltec

           Bank & Trust Limited in Nassau, THE BAHAMAS, including, but not limited to:

                           1.   All shares of Global Securities Trade Finance Class D Series Dw 1; and

                           ii. Approximately 15,813.315 LU0928615466 Fenice SICAV SIF - Eagle

                                Global;

                   e.      All assets on deposit in account/portfolio number 10.608645 at Zarattini &




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Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 3 of 9




           Co Bank in Lugano, SWITZERLAND, including, but not limited to:

                          1.    Approximately 16,000 Fenice SICAV-SIF SCA SICAV-SIF - Eagle

                                Global; and

                          11.   Approximately 24,405.72 Fenice SICAV-SIF SCA SICAV - Blu;

                  1.      All assets on deposit in account/portfolio number 10.609020 at Zarattini &

           Co. Bank m Lugano, SWITZERLAND, held in the name of Big Green Valley SA,

           including, but not limited to, all shares of Global Securities Trade Finance Class C Series

           C-1;

                  m.      All assets on deposit in account number 1465724 at City National Bank in

           New Jersey, held by Global Securities Trade Finance;

                  n.      All assets on deposit in account number 55102421 at City National Bank in

           New Jersey, held by Global Securities Trade Finance;

                  o.      Real property located at 2101 South Surf Road, Unit 2E, Hollywood,

           Florida; and

                  p.      Approximately $2 million in Series A convertible notes of Domaine Select

           Wine & Spirits, LLC, a Delaware limited liability company, acquired on or about

           September 22, 2016, and October 18, 2017, by Global Securities Trade Finance and

           Gustavo Hernandez, respectively.

    See Am. Protective Order 4-8 (identified by the same letter as in the Amended Protective. Order).

           4.      On October 31, 2018, pursuant to a written Plea Agreement, the Defendant pleaded

    guilty to conspiracy to commit money laundering in violation of 18 U.S.C. § l 956(h) as charged

    in the Superseding Information.     See Minute Entry, ECF No. 61; Ortega's Plea   Agreement~    2,




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Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 4 of 9
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    ECF No. 64; Ortega's Factual Proffer, ECF No. 65.     In his Plea Agreement, the Defendant agreed

    to the following provisions, among others:

                   14.     The defendant agrees to forfeit to the United States voluntarily and
           immediately all property, real or personal, involved in the violation of Title 18,
           United States Code, Section l 956(h) charged in the Superseding Information and/o_r
           property that constitutes substitute assets, pursuant to Title 18, United States Code,
           Section 982(a)(l) and Title 21, United States Code, Section 853(p). The defendant
           agrees that such property includes, but is not limited to:
                   (i) A sum of at least $12 million in U.S. currency, which may be sought
                         as a forfeiture money judgment;
                   (ii) All' assets on deposit in account numbers 1466054, 1465724, and
                         55102421 at City National Bank in New Jersey held by Global
                         Securities Trade Finance;
                   (iii) All assets on deposit in account/portfolio number 1303311-00 at
                         Deltec Bank & Trust Limited in Nassau, THE BAHAMAS, including,
                         but not limited to, all shares of Global Securities Trade Finance Class
                         D Series D-1;
                   (iv) All assets on deposit in account/portfolio number 10.609020 at
                         Zarattini & Co. Bank in Lugano, SWITZERLAND, held in the name
                         of Big Green Valley SA, including, but not limited to, all shares of
                         Global Securities Trade Finance Class C; and
                   (v) All assets on deposit in account number 200020600 at Ansbache_r
                         Limited in THE BAHAMAS, held in the name of Greatwalls FS.
           The defendant agrees to consent to the entry of orders of forfeiture for such property
           and property specifically identified in the Indictment and the Superseding
           Information. The defendant admits and agrees that the conduct described in the
           Criminal Complaint, Indictment, Superseding Information, and Factual Proffer
           provides a sufficient factual and statutory basis for the forfeiture of the property
           sought by the United States.

    Ortega's Plea   Agreement~   14.

           5.       As set forth in the Defendant's Factual Proffer and the Declaration of HSI Special

    Agent Vega, the Defendant and others conspired to launder and engage in monetary transactions

    with the proceeds of corrupt currency exchanges involving Petr6leos de Venezuela, S.A.

     ("PDVSA"). See Ortega's Factual Proffer 2, ECF No. 65; SA Vega Deel. From August 2004

    through March 2016, the Defendant worked in various positions within PDVSA, and was a

    "foreign official" as that term is defined in the Foreign Corrupt Practices Act ("FCPA"). See




                                                     4
Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 5 of 9




    Ortega's Factual Proffer 2.

             6.          The Defendant and others conspired to launder approximately $12 million that was

    given to the Defendant as bribe payments in exchange for his corrupt acts and decisions in his

    official capacity as Executive Director of Financial Planning at PDVSA. See Ortega's Factual

    Proffer at 7. The Defendant met and conspired with co-defendant Gustavo Adolfo Hernandez

    Frieri ("Hernandez") to launder these illicit proceeds, which were being held by a confidential

    source ("CS").         See id. at 7-9; accord SA Vega Deel. At the direction of Hernandez, the

    Defendant's $12 million in bribery proceeds was laundered to accounts at City National Bank in

    New Jersey held in the name of Global Securities Trade Finance ("GSTF"), as well as to Great

    Walls FS, a British Virgin Islands company controlled by the Defendant. See Ortega's Factual

    Proffer 7-9; SA Vega Deel.       iii! 8-29; Ortega's Plea Agreement if 14.   These bribery proceeds were

    used to acquire securities and real property. See Ortega's Factual Proffer 7-9; SA Vega Deel.

    irir 8-29.
             7.          Accordingly, the property involved in the Defendant's money laundering

    conspiracy and/or acquired with funds traceable to the laundered bribery proceeds include

     (collectively, the "Subject Assets"):

                  (i)     All assets on deposit in account/portfolio number 10.609020 at Zarattini

                           & Co. Bank in Lugano, SWITZERLAND, held in the name of Big Green

                           Valley SA, including, but not limited to, all shares of Global Securities

                           Trade Finance Class C;

                  (ii)     All assets on deposit m account numbers 1466054, 1465724, and

                           55102421 at City National Bank in New Jersey held by Global Securities

                           Trade and Finance;




                                                          5
Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 6 of 9




                (iii) All assets on deposit in account/portfolio number 1303311-00 at Deltec

                       Bank & Trust Limited in Nassau, THE BAHAMAS, including, but not

                       limited, all shares of Global Securities Trade and Finance Class Series D-

                       l·
                        '
                (iv) Real property located at 2101 South Surf Road, Unit 2E, Hollywood,

                       Florida;

                (v)    Approximately $2 million in Series A convertible notes of Domaine

                       Select Wine & Spirits, LLC, a Delaware Limited Liability Company,

                       acquired on or about September 22, 2016, and October 18, 2017, by

                       Global     Securities Trade    and   Finance and     Gustavo    Hernandez,

                       respectively; and

                (vi) All assets on deposit in account number 200020600 at Ansbacher Limited

                       in THE BAHAMAS, held in the name of Greatwalls FS.

    See Ortega's Factual Proffer 7-9; SA Vega Deel.~~ 8-29; Ortega's Plea Agreement~ 14.

           8.         Based on the Defendant's guilty plea, Plea Agreement, Factual Proffer, and the

    Declaration of HSI Special Agent Vega, the total amount involved in the Defendant's money

    laundering conspiracy charged in the Superseding Information was at least $12 million.        Pursuant

    to Rule 32.2 of the Federal Rules of Criminal Procedure, this sum may be sought as a forfeiture

    money judgment.         In addition, the Subject Assets constitute property involved in the Defendant's

    money laundering conspiracy, and/or property traceable to such property, and thus, are subject to

    forfeiture pursuant to 18 U.S.C. § 982(a)(l).




                                                        6
Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 7 of 9




              THEREFORE, the United States' Unopposed Motion for Preliminary Order of Forfeiture

    is GRANTED, and it is hereby ORDERED that:

              1.          Pursuant to 18 U.S.C. § 982(a)(l), the following property is forfeited to the United

    States:

                   (i)     All assets on deposit in account/portfolio number 10.609020 at Zarattini

                           & Co. Bank in Lugano, SWITZERLAND, held in the name of Big Green

                            Valley SA, including, but not limited to, all shares of Global Securities

                           Trade Finance Class C;

                   (ii)    All assets on deposit in account numbers 1466054, 1465724, and

                           55102421 at City National Bank in New Jersey held by Global Securities

                           Trade and Finance;

                   (iii) All assets on deposit in account/portfolio number 1303311-00 at Deltec

                           Bank & Trust Limited in Nassau, THE BAHAMAS, including, but not

                            limited, all shares of Global Securities Trade and Finance Class Series D-

                            1.
                             '
                   (iv) Real property located at 2101 South Surf Road, Unit 2E, Hollywood,

                            Florida, which is more fully described as:

                           Condominium Unit No. 2E, of SAGE BEACH, A CONDOMINIUM,
                           according to the Declaration of Condominium thereof recorded under
                           Instrument No. 113779593, of the Public Records of Broward County,
                           Florida, and all amendments thereto, together with its undivided share in
                           the common elements.

                            Parcel ID No. 514224BE0050;

                   (v)     Approximately $2 million in Series A convertible notes of Domaine

                            Select Wine & Spirits, LLC, a Delaware Limited Liability Company,




                                                           7
Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 8 of 9




                        acquired on or about September 22, 2016, and October 18, 2017, by

                        Global   Securities   Trade   and   Finance       and   Gustavo   Hernandez,

                        respectively; and

                   (vi) All assets on deposit in account number 200020600 at Ansbacher Limited

                        in THE BAHAMAS, held in the name of Greatwalls FS;

              2.      An agent of Homeland Security Investigations, or any duly authorized law

    enforcement agency, may seize, take possession, and dispose of the forfeited property according

    to law;
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              3.      With respect to any forfeited real property, an agent of Homeland .Security

    Investigations, or any qualified designee, is authorized to enter the real property, including its

    curtilage and any structure(s), on one or more occasions for the purpose of conducting an

    inspection, inventory, and appraisal of such property, including to document its condition by,

    among other means, still and video photography;

              4.      The United States shall send and publish notice of the forfeiture in accordance with

    Rule 32.2(b )(6) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n);

              5.      The United States is authorized, pursuant to Rule 32.2(b)(3), (c)(l) of the Federal

    Rules of Criminal Procedure and 21 U .S.C. § 853(m), to conduct any discovery necessary,

    including depositions, to identify, locate or dispose of the forfeited property or in order to expedite

    ancillary proceedings related to any third-party petition;

              6.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order

    is final as to Defendant Abraham Edgardo Ortega; and




                                                       8
Case 1:18-cr-20685-KMW Document 124 Entered on FLSD Docket 06/24/2019 Page 9 of 9




             7.     The Court shall retain jurisdiction in this matter for the purpose of enforcing this

    Order.



             DONE AND ORDERED in Miami, Florida,           thisCJ~y of June 2019.



                                                                        M. WILLIAMS
                                                                       ATES DISTRICT JUDGE




    cc:      Nicole Grosnoff, Assistant U.S. Attorney (2 certified copies)




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